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November 18, 2018
By ECF
Hon. Katharine H. Parker
United States Magistrate Judge
Southern District of New York
500 Pearl Street
New York, New York 10007
Re:    City of Almaty v. Ablyazov, No. 1:15-cv-05345-AJN-KHP
Dear Judge Parker:

This firm represents Ilyas and Viktor Khrapunov. I am writing to address one issue that was
raised by the Court during oral argument.
The issue presented was whether the information that BTA illegally obtained from Mr. Sater
could provide a predicate for excluding that evidence at trial. In response to the issue, I referred
to the Court’s prior holding regarding the Kazaword documents. Specifically, I was relying on
the following passage:
            The Court next addresses Plaintiffs’ request for a protective order
            precluding use of the hacked documents in this litigation. A protective
            order is appropriate where a movant has shown good cause. Fed. R. Civ.
            P. 26(c)(1). Courts in this district have consistently prohibited parties
            from using stolen materials to their advantage in litigation. See Pure
            Power Boot Camp v. Warrior Fitness Boot Camp, 587 F. Supp. 2d 548,
            571 (S.D.N.Y. 2008) (“In the end, the one thing that should remain
            unsullied is the integrity of the judicial process. In this Court’s view, that
            integrity is threatened by admitting evidence wrongfully, if not
            unlawfully, secured.”); Fayemi v. Hambrecht & Quist, Inc., 174 F.R.D.
            319, 325 (S.D.N.Y. 1997) (pursuant to “inherent equitable powers to
            sanction a party that seeks to use in litigation evidence that was
            wrongfully obtained,” courts may preclude the use of stolen evidence in
            litigation, even if it could otherwise have been discoverable).
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City of Almaty v. Ablyazov, No. 1:15-CV-05345 (AJN) (KHP), 2017 U.S. Dist. LEXIS 221981,
at *13-14 (S.D.N.Y. July 19, 2017). The Court’s holding was in accord with another recent
federal court decision, In re Ashley Madison Customer Data Sec. Breach Litig., No. MDL No.
2669, 2016 U.S. Dist. LEXIS 57619, at *18-19 (E.D. Mo. Apr. 29, 2016):
            The question of whether a party may use, for any purpose, documents and
            information wrongfully obtained from an opposing party in prosecuting a
            civil action has arisen in other contexts, such as in cases where a current
            or former employee of a corporate defendant has surreptitiously provided
            documents to counsel for the plaintiff. U.S. ex rel. Rector v. Bon Secours
            Richmond Health Corp., No. 3:11-CV-38, 2014 U.S. Dist. LEXIS 1031,
            2014 WL 66714, at *6 (E.D. Va. Jan. 6, 2014) (citing cases). In such
            cases, courts have precluded use of documents and information obtained
            outside the normal discovery process. For example, in Shell Oil
            [Refinery], 143 F.R.D. 105 [(E.D. La. 1992)], the plaintiffs’ attorney
            surreptitiously obtained proprietary Shell documents from a disaffected
            Shell employee. The defendant moved for a protective order to prevent
            the plaintiffs from using the documents. Finding that the plaintiffs’
            attorney’s receipt of the documents was “inappropriate and contrary to
            fair play,” the court observed that plaintiffs “effectively circumvented the
            discovery process and prevented Shell from being able to argue against
            production.” Id. at 108. The court in Shell Oil precluded the plaintiffs’
            use of the documents obtained from the Shell employee source or the
            information contained therein. Id. at 109.
We are not here taking a position as to what remedy, if any, is appropriate. But information
literally procured from a witness in violation of contractual obligations of secrecy equates to
hacked information, and implicates the same principles of fair play and deterrence. BTA’s
argument that claims relating to this breach are limited to Mr. Sater cannot be right—a party who
knowingly pays another to breach a confidentiality obligation is liable for tortious interference
with contract. See, e.g., Nostrum Pharm., LLC v. Dixit, No. 13-cv-8718 (CM), 2016 U.S. Dist.
LEXIS 133844 (S.D.N.Y. Sep. 23, 2016); Zeno Grp., Inc. v. Charlotte Wray, 2008 NY Slip Op
32653(U) (Sup. Ct.).

At the moment, we are seeking the facts (time, place, participants, and substance) concerning
BTA’s acquisition of my client’s confidential information and its knowledge of Mr. Sater’s
confidentiality obligations. Whether those facts (which are relevant in any event) provide
grounds for further relief is a question for another day.
Respectfully yours,

/s/Andrew T. Solomon

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